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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

UNITED STATES OF AMERICA,                                           §
                                                                    §
                                                                    §
v.                                                                  §   CRIMINAL ACTION NO. H-lS-266
                                                                    §
KYERUE                                                              §
                                                                    §

        ORDER ADOPTING MEMORANDUM AND RECOMMENDATION AND
        DENYING DEFENDANT'S MOTION TO DISMISS THE INDICTMENT

            This court has reviewed the Memorandum and Recommendation of the United States

Magistrate Judge signed on July 29, 201S, and has made a de novo determination of the

Magistrate Judge's recommended disposition. Rule 72(b), Fed. R. Civ. P.; 28 U.S.C. §

636(b)(1)(C); United States v. Wilson, 864 F.2d 1219 (Sth Cir. 1989). This court finds that

the Memorandum and Recommendation should be, and is, adopted as this court's

Memorandum and Order. The defendant moved to dismiss the indictment on the ground that

the armed robberies alleged to violate the Hobbs Act, 18 U.S.c. § 19S1(a), did not

sufficiently impact interstate commerce to satisfy constitutional and jurisdictional

requirements. (Docket Entry No. 62). His facial challenge to the constitutionality of the

Hobbs Act are foreclosed by Fifth Circuit precedent, see United States v. Robinson, 119 F.3d

120S, 1212 (Sth Cir. 1997), and his as-applied challenge is foreclosed by the specific

allegations in the indictment, which are sufficient to satisfy the jurisdictional requirements

defined by the Hobbs Act and applicable Fifth Circuit authority. See United States v.

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Jennings, 195 F.3d 795, 800 (5th Cir. 1999; United States v. Martinez, 28 F.3d 444, 445 (5th

Cir. 1994).

            The motion to dismiss the indictment is denied.

                         SIGNED on August 20,2015, at Houston, Texas.




                                                                             Lee H. Rosenthal
                                                                        United States District Judge




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